Case 19-69496-pmb       Doc 53    Filed 01/21/20 Entered 01/21/20 17:27:23         Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                    CHAPTER 11
 SIGMA LOGISTICS, INC.,
                                                    CASE NO. 19-69496-pmb
          Debtor.

                DEBTOR’S MONTHLY OPERATING REPORT
       FOR THE PERIOD FROM DECEMBER 4, 2019 TO DECEMBER 31, 2019

       COMES NOW the above-named Debtor and files this Monthly Operating Report in

accordance with the Guidelines established by the United States Trustee and FRBP 2015.

       This 21st day of January, 2020.

                                           JONES & WALDEN, LLC
                                           /s/ Thomas T. McClendon
                                           Thomas T. McClendon
                                           Georgia Bar No. 431452
                                            21 Eighth Street, NE
                                           Atlanta, Georgia 30309
                                           (404) 564-9300 Telephone
                                           (404) 564-9301 Facsimile
                                           tmcclendon@joneswalden.com




Debtor’s Address:
Sigma Logistics, Inc.
55 Chamisa Road
Suite B
Covington, GA 30016
Case 19-69496-pmb   Doc 53    Filed 01/21/20 Entered 01/21/20 17:27:23   Desc Main
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Debtor Name   Sigma   Logistics, Inc.,
              _______________________________________________________                             19-69496-pmb
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                             ✔
                                                                                                                                            
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                       
                                                                                                                          ✔                 


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                  -4,317.98
                                                                                                                              $ _____
        This amount must equal what you reported as the cash on hand at the end of the month in the previous                  _____
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            112,492.41
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          111,478.19
        Report the total from Exhibit D here.

    22. Net cash flow                                                                                                     +   $ __________
                                                                                                                                  1,014.22
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                  -3,303.76
        Report this figure as the cash on hand at the beginning of the month on your next operating report.               =   $ __________

                                                                                                          'HEWRUZRXOGKDYH
        This amount may not match your bank account balance because you may have outstanding checks that
                                                                                                         FDVKRQKDQGDW
        have not cleared the bank or deposits in transit.
                                                                                                         WKHHQGRIWKHPRQWKKDG
                                                                                                         5HJLRQVFORVHGDFFRXQWV
                                                                                                         ZKHQUHTXHVWHGDQG0&$ V
                                                                                                         FHDVHGSRVWSHWLWLRQ GHELWV
              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                           41,137.11
                                                                                                                              $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
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Debtor Name   Sigma  Logistics, Inc.,
              _______________________________________________________                                19-69496-pmb
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                          16,143.50
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          15
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          14
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                            0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 260,000.00
                                          ____________           –     112,492.41
                                                                     $ ____________
                                                                                               =     147,507.59
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 231,113.56                   111,478.19              =     119,635.37
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                           28,886.44             –        1,014.22             =       27,872.22
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         260,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  231,113.56

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    28,886.44




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
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Debtor Name   Sigma  Logistics, Inc.,
              _______________________________________________________                             19-69496-pmb
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    ✔
       38. Bank statements for each open account (redact all but the last 4 digits of account numbers).


       39. Bank reconciliation reports for each account.


       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                          page 4
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                                         Exhibits A & B
                         Response to Questionnaire Nos. 5, 10 and 18
                                      December 2019

5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts? No
10. Do you have any bank accounts open other than the DIP accounts? Yes
18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? Yes


Regions Bank accounts ending in 0391 and 5587 remained open due to bank error. Sigma Logistics completed the
necessary paperwork on December 9, 2019 with the bank representative to close the accounts and were assured by
the bank that the accounts would be closed as of that date. However, after checking the accounts' status, there was
activity in each account and the bank was immediately contacted for explanation. The bank confirmed the correct
closing date and informed Sigma that the clerk failed to complete the closing of the accounts as instructed.

** As such, the bank was instructed to have these accounts closed and reject any new activity.
          Case 19-69496-pmb Regions
                              Doc
                            Main      53
                                      Bank
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               SIGMA LOGISTICS INC
               EQUIPMENT AND MAINTENANCE
               55 CHAMISA RD STE B                                                                                                            2
               COVINGTON GA 30016-1109
                                                                                                           ACCOUNT #                    5587
                                                                                                                                           001
                                                                                                                    Cycle                   26
                                                                                                               Enclosures                     0
                                                                                                                    Page                 1 of 4

                                            ADVANTAGE BUSINESS CHECKING
                                           November 30, 2019 through December 31, 2019



                                                                 SUMMARY
Beginning Balance                              $2,341.95 -                Minimum Daily Balance                                    $7,903 -
Deposits & Credits                            $40,196.87 +                Average Monthly Statement Balance                          $988 -
Withdrawals                                   $22,336.50 -
Fees                                            $709.00 -
Automatic Transfers                                $0.00 +
Returned Checks                                $7,841.13 +
Checks                                        $28,794.54 -
Ending Balance                                 $6,143.99 -



                                                        DEPOSITS & CREDITS
       12/02      Deposit - Thank You                                                                                             3,500.00
       12/02      EB From Checking #         0328 Ref# 000000 8643093                                                             5,800.00
       12/05      Deposit - Thank You                                                                                            15,000.00
       12/06      Deposit - Thank You                                                                                             2,900.00
       12/06      Deposit - Thank You                                                                                             3,100.00
       12/06      Deposit - Thank You                                                                                             3,300.00
       12/06      Deposit - Thank You                                                                                             6,100.00
       12/11      ACH Operations      Bank Credit                                                                                   121.00
       12/11      Deposit - Thank You                                                                                               121.00
       12/16      EB From Checking #         0990 Ref# 000000 8644737                                                               236.87
       12/24      Bank Credit    Fee Refund Sigma Logistic                                                                           18.00

                                                                                             Total Deposits & Credits           $40,196.87


                                                            WITHDRAWALS
       12/02      FL Dept of Reven Childsupp Sigma Logistic 201912020000781                                                         110.77
       12/02      Fin Pac Leasing Lease Pymt Sigma Logistic                                                                       2,842.11
       12/04      Dell        Online Pmt Sigma Logistic Ckf711111649neg                                                             300.00
       12/04      Aetna Afa     Afa Sigma Logistic 11729                                                                          5,526.20
       12/05      Capital One    Crcardpmt Houston Tarren 933830180002319                                                            25.00
       12/09      EB to Checking #         0391 Ref# 000000 8644730                                                                 600.00
       12/09      EB to Checking #         0383 Ref# 000000 8644733                                                                 700.00
       12/09      Bank Debit                                                                                                        100.00
       12/09      Bank Debit                                                                                                        100.00



                                 For all your banking needs, please call 1-800-REGIONS (734-4667)
                             or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                                Thank You For Banking With Regions!
                                        2020 Regions Bank Member FDIC. All loans subject to credit approval.
   Case 19-69496-pmb Regions
                       Doc
                     Main      53
                               Bank
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                                                                                                                  2
SIGMA LOGISTICS INC
EQUIPMENT AND MAINTENANCE
55 CHAMISA RD STE B
                                                                             ACCOUNT #                       5587
COVINGTON GA 30016-1109
                                                                                                                001
                                                                                        Cycle                    26
                                                                                   Enclosures                      0
                                                                                        Page                  2 of 4

                                      WITHDRAWALS (CONTINUED)
12/09   Bank Debit                                                                                       100.00
12/09   Bank Debit                                                                                       108.30
12/09   FL Dept of Reven Childsupp Sigma Logistic 201912090000290                                        110.77
12/09   Intuit     Quickbooks Sigma Logisiti 2612898                                                     325.00
12/10   Capital One    Crcardpmt Houston Tarren 934330180000469                                          121.00
12/16   Card Purchase Dat Solutions 8 5085 800-3285302 or 97008 7942                                     211.10
12/16   FL Dept of Reven Childsupp Sigma Logistic 201912160000504                                        110.77
12/20   IRS         USATAXPYMT Sigma Logistic 270975410610113                                              8.24
12/23   Capital One    Crcardpmt Houston Tarren 935530180004981                                           46.00
12/23   Star Leasing Com Corp Coll Sigma Logistic Si4625                                               5,445.62
12/30   Star Leasing Com Corp Coll Sigma Logistic Si4625                                               5,445.62

                                                                         Total Withdrawals           $22,336.50


                                                    FEES
12/02   Returned Item Fee                                                                                72.00
12/04   Paid Overdraft Item Fee                                                                          36.00
12/05   Paid Overdraft Item Fee                                                                          72.00
12/05   Paid Overdraft Item Fee                                                                          36.00
12/06   Paid Overdraft Item Fee                                                                         252.00
12/11   Paid Overdraft Item Fee                                                                          36.00
12/23   Paid Overdraft Item Fee                                                                          72.00
12/24   Returned Item Fee                                                                                72.00
12/31   Monthly Fee - Low Balance                                                                        25.00
12/31   Paid Overdraft Item Fee                                                                          36.00

                                                                               Total Fees              $709.00


                                               RETURNED CHECKS
12/02   Credit-Returned Ck#    9563                                                                      814.99
12/02   Credit-Returned Ck#    9568                                                                    1,534.52
12/24   Credit-Returned Ck#57014712436                                                                    46.00
12/24   Credit-Returned Ck#57014892760                                                                 5,445.62

                                                                   Total Returned Checks              $7,841.13


                                                   CHECKS
Date       Check No.                 Amount                      Date           Check No.               Amount
12/03                               2,419.52                     12/03              9570                 860.00
12/05           9462                1,224.37                     12/05              9572     *         2,714.88
12/05           9493   *              996.89                     12/09              9574     *         1,011.90
12/05           9503   *            1,369.89                     12/05              9575                 534.06
12/03           9540   *            1,083.91                     12/05              9577     *           632.86
12/02           9550   *              448.88                     12/05              9580     *         1,249.25
12/02           9556   *            1,001.15                     12/05              9581                 979.31
12/03           9557                1,249.25                     12/06              9583     *           379.75
12/06           9561   *              379.76                     12/05              9584                 573.59
12/02           9566   *            1,261.68                     12/06              9585                 814.98
12/06           9568   *            1,534.52                     12/05              9586                 973.01
12/20           9569                  503.13                     12/05              9587               1,232.00
   Case 19-69496-pmb Regions
                       Doc
                     Main      53
                               Bank
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                                     Document
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                               Decatur, AL 35601




                                                                                                               2
SIGMA LOGISTICS INC
EQUIPMENT AND MAINTENANCE
55 CHAMISA RD STE B
                                                                          ACCOUNT #                     5587
COVINGTON GA 30016-1109
                                                                                                           001
                                                                                    Cycle                   26
                                                                               Enclosures                     0
                                                                                    Page                 3 of 4

                                               CHECKS (CONTINUED)
Date         Check No.                  Amount                    Date      Check No.              Amount
12/05            9588                  1,166.00                   12/06         9592 *            2,200.00
                                                                          Total Checks          $28,794.54
* Break In Check Number Sequence.


                                            DAILY BALANCE SUMMARY
Date                     Balance             Date            Balance        Date                  Balance
12/02                    3,570.97            12/09              0.00        12/23                 6,074.99 -
12/03                    2,041.71 -          12/10            121.00 -      12/24                   637.37 -
12/04                    7,903.91 -          12/11             85.00        12/30                 6,082.99 -
12/05                    6,683.02 -          12/16              0.00        12/31                 6,143.99 -
12/06                    3,155.97            12/20            511.37 -



                               PRICING CHANGES TO THIS ACCOUNT WILL
                               TAKE EFFECT IN FEB 2020. PLEASE SEE THE
                            ENCLOSED PRICING SCHEDULE AMENDMENT FOR
                             DETAILS. ALSO PRICING FOR CERTAIN TREAS-
                            URY MANAGEMENT SERVICES/ANALYZED DEPOS-
                              ITORY PRODUCTS CHANGE EFFECTIVE 1-1-20.
                            CHANGES WILL BE REFLECTED BEGINNING WITH
                               JANUARY ANALYSIS STATEMENT YOU WILL
                             RECEIVE IN FEBRUARY. TO VIEW ALL CHANGES
                                 VISIT REGIONS.COM/SPECIALMESSAGE.
              Case 19-69496-pmb                   Doc 53        Filed 01/21/20 Entered 01/21/20 17:27:23                                 Desc Main
                                                                                                                                               Page          4 of 4
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error. If we decide there was no error,
we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of the documents that we used in our
investigation.

FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
          Case 19-69496-pmb Regions
                              DocMain
                            Conyers  53
                                     Bank
                                           Filed 01/21/20 Entered 01/21/20 17:27:23                                          Desc Main
                                         Document
                            1848 Highway 138           Page 11 of 37
                                     Conyers, GA 30094




               SIGMA LOGISTICS INC
               MAINTENANCE ACCOUNT
               55 CHAMISA RD STE B                                                                                                           2
               COVINGTON GA 30016-1109
                                                                                                            ACCOUNT #                    0391
                                                                                                                                           060
                                                                                                                     Cycle                  26
                                                                                                                Enclosures                    0
                                                                                                                     Page                1 of 3

                                              LIFEGREEN BUSINESS CHECKING
                                            November 30, 2019 through December 31, 2019



                                                                   SUMMARY
Beginning Balance                                  $59.89                  Minimum Balance                                             $0
Deposits & Credits                              $3,700.00      +           Average Balance                                           $264
Withdrawals                                     $3,759.89      -
Fees                                                $0.00      -
Automatic Transfers                                 $0.00      +
Checks                                              $0.00      -
Ending Balance                                      $0.00



                                                        DEPOSITS & CREDITS
       12/02      EB From Checking #          0383 Ref# 000000 8644725                                                              100.00
       12/04      EB From Checking #          0144 Ref# 000000 8644726                                                              150.00
       12/05      EB From Checking #          0144 Ref# 000000 8644727                                                              500.00
       12/06      EB From Checking #          0144 Ref# 000000 8644729                                                            2,000.00
       12/09      EB From Checking #          0383 Ref# 000000 8644731                                                               50.00
       12/09      EB From Checking #          0144 Ref# 000000 8644732                                                              300.00
       12/09      EB From Checking #          5587 Ref# 000000 8644730                                                              600.00

                                                                                              Total Deposits & Credits           $3,700.00


                                                             WITHDRAWALS
       12/02      PIN Purchase Sunoco 0639703 5542 Ocala       FL       1276                                                         56.00
       12/03      Card Purchase BP#6629976big D 5542 Covington GA 30016 7509                                                         62.20
       12/04      PIN Purchase Fob James Dr T 5541 Valley     AL       1276                                                         120.11
       12/05      Card Purchase Circle K # 0089 7542 Orlando    FL 32807 1276                                                        11.00
       12/06      PIN Purchase Murphy7572atwa 5542 Covington GA           9333                                                       33.23
       12/06      PIN Purchase Murphy7572atwa 5542 Covington GA           1276                                                       54.28
       12/09      Bank Debit                                                                                                         51.48
       12/09      Card Purchase Pp*sureshotaut 7538 402-935-2244 GA 30016 9333                                                      198.82
       12/09      Card Purchase At&t*bill Payme 4814 800-331-0500 GA 30005 9333                                                   1,838.35
       12/09      Card Purchase Cash App*adrian 4829 8774174551 CA 94103 1276                                                       250.00
       12/09      Card Purchase Atc Heavy Duty 7549 4796626090 AR 72921 1276                                                        439.00
       12/09      Card Purchase Chevron 0201803 5542 Conyers      GA 30013 9333                                                      36.51
       12/09      Card Purchase Cowan Hdwe CO 5251 Conyers         GA 30013 9333                                                    236.39
       12/09      Card Purchase Stevi Bs Pizza 5812 Covington GA 30014 9333                                                         220.00



                                  For all your banking needs, please call 1-800-REGIONS (734-4667)
                              or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                                 Thank You For Banking With Regions!
                                         2020 Regions Bank Member FDIC. All loans subject to credit approval.
   Case 19-69496-pmb Regions
                       DocMain
                     Conyers  53
                              Bank
                                    Filed 01/21/20 Entered 01/21/20 17:27:23                Desc Main
                                  Document
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                                                                                                            2
SIGMA LOGISTICS INC
MAINTENANCE ACCOUNT
55 CHAMISA RD STE B
                                                                         ACCOUNT #                      0391
COVINGTON GA 30016-1109
                                                                                                          060
                                                                                    Cycle                  26
                                                                               Enclosures                    0
                                                                                    Page                2 of 3

                                      WITHDRAWALS (CONTINUED)
12/10   Card Purchase Bw Van Buren IN 3502 Van Buren AR 72956 9333                                  91.80
12/10   Card Purchase Pilot 04560  5542 Jackson    GA 30233 7509                                    60.72

                                                                     Total Withdrawals          $3,759.89


                                       DAILY BALANCE SUMMARY
Date                 Balance            Date             Balance           Date                   Balance
12/02                 103.89            12/05              560.58          12/09                   152.52
12/03                  41.69            12/06            2,473.07          12/10                     0.00
12/04                  71.58



                             PRICING CHANGES TO THIS ACCOUNT WILL
                             TAKE EFFECT IN FEB 2020. PLEASE SEE THE
                          ENCLOSED PRICING SCHEDULE AMENDMENT FOR
                           DETAILS. ALSO PRICING FOR CERTAIN TREAS-
                          URY MANAGEMENT SERVICES/ANALYZED DEPOS-
                            ITORY PRODUCTS CHANGE EFFECTIVE 1-1-20.
                          CHANGES WILL BE REFLECTED BEGINNING WITH
                             JANUARY ANALYSIS STATEMENT YOU WILL
                           RECEIVE IN FEBRUARY. TO VIEW ALL CHANGES
                               VISIT REGIONS.COM/SPECIALMESSAGE.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
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      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
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ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
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                                     Bank
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               SIGMA LOGISTICS INC
               DEBTOR IN POSSESSION
               OPERATING                                                                                                                      2
               55 CHAMISA RD STE B
               COVINGTON GA 30016-1109                                                                      ACCOUNT #                    0990
                                                                                                                                           060
                                                                                                                     Cycle                  26
                                                                                                                Enclosures                    0
                                                                                                                     Page                1 of 3

                                             ADVANTAGE BUSINESS CHECKING
                                             December 9, 2019 through December 31, 2019



                                                                   SUMMARY
Beginning Balance                                   $0.00                  Minimum Daily Balance                                       $42
Deposits & Credits                             $72,291.30      +           Average Monthly Statement Balance                        $1,574
Withdrawals                                    $69,685.63      -
Fees                                                $0.00      -
Automatic Transfers                                 $0.00      +
Checks                                              $0.00      -
Ending Balance                                  $2,605.67



                                                        DEPOSITS & CREDITS
       12/09      Deposit - Thank You                                                                                                 15.00
       12/09      Deposit - Thank You                                                                                                 15.54
       12/09      Deposit - Thank You                                                                                                 21.61
       12/09      Deposit - Thank You                                                                                                 51.48
       12/09      Deposit - Thank You                                                                                                100.00
       12/09      Deposit - Thank You                                                                                                108.30
       12/09      Deposit - Thank You                                                                                                214.07
       12/10      US 1 Logistics Vendor Pmt Logsig                                                                                     0.01
       12/12      Deposit - Thank You                                                                                                208.10
       12/12      US 1 Logistics Vendor Pmt Covington TH A                                                                         6,403.57
       12/12      US 1 Logistics Vendor Pmt Logsig                                                                                20,941.77
       12/19      Deposit - Thank You                                                                                             21,263.20
       12/23      EB From Checking #           0761 Ref# 000000 8644738                                                              400.00
       12/26      US 1 Logistics Vendor Pmt Covington TH A                                                                         2,972.32
       12/26      US 1 Logistics Vendor Pmt Logsig                                                                                17,866.33
       12/30      Mobile Deposit-Avail Tonight                                                                                     1,710.00

                                                                                              Total Deposits & Credits           $72,291.30


                                                             WITHDRAWALS
       12/12      EB to Checking #        0982   Ref# 000000 8644734                                                              18,315.37
       12/12      EB to Checking #        0761   Ref# 000000 8644735                                                               4,470.19
       12/12      EB to Checking #        0982   Ref# 000000 8644736                                                               1,280.63
       12/16      EB to Checking #        5587   Ref# 000000 8644737                                                                 236.87
       12/16      Card Purchase Action Tire CO    5532 Forest Park GA 30297              4912                                        908.84



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                              or visit us on the Internet at www.regions.com. (TTY/TDD 1-800-374-5791)
                                                 Thank You For Banking With Regions!
                                         2020 Regions Bank Member FDIC. All loans subject to credit approval.
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                     Conyers  53
                              Bank
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                                  Document
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                           Conyers, GA 30094




                                                                                                                 2
SIGMA LOGISTICS INC
DEBTOR IN POSSESSION
OPERATING
                                                                             ACCOUNT #                      0990
55 CHAMISA RD STE B
COVINGTON GA 30016-1109                                                                                        060
                                                                                        Cycle                   26
                                                                                   Enclosures                     0
                                                                                        Page                 2 of 3

                                      WITHDRAWALS (CONTINUED)
12/18   Card Purchase Advance Auto PA 5533 Conyers       GA 30013 4920                                   10.69
12/18   Card Purchase Cash App*wilfre 4829 8774174551 CA 94103 4912                                     296.27
12/19   EB to Checking #         0982 Ref# 000000 8643100                                            23,200.00
12/19   EB to Checking #         0982 Ref# 000000 8643101                                               250.00
12/19   Card Purchase Vanguard Truck 5511 Forest Park GA 30297 4920                                      19.88
12/19   PIN Purchase Ingles Markets 5411 Conyers      GA      4920                                       21.95
12/20   Card Purchase Action Tire CO 5532 Forest Park GA 30297 4920                                      40.00
12/20   Card Purchase Piccadilly Atco 5812 Conyers     GA 30013 4920                                     94.43
12/23   Card Purchase Shell Oil 57546 5541 Conyers     GA 30013 4920                                     60.00
12/23   Card Purchase D and J Supply 5511 Lithonia     GA 30058 4912                                     53.58
12/24   Card Purchase Spectrum        4899 855-707-7328 MO 63131 4920                                   441.62
12/26   EB to Checking #         0982 Ref# 000000 8644739                                            19,945.31
12/26   Card Purchase Qt 798        5542 Covington GA 30014 4920                                         40.00

                                                                         Total Withdrawals          $69,685.63


                                       DAILY BALANCE SUMMARY
Date                 Balance            Date                Balance            Date                   Balance
12/09                  526.00           12/18               2,560.59           12/24                     42.33
12/10                  526.01           12/19                 331.96           12/26                    895.67
12/12                4,013.26           12/20                 197.53           12/30                  2,605.67
12/16                2,867.55           12/23                 483.95



                             PRICING CHANGES TO THIS ACCOUNT WILL
                             TAKE EFFECT IN FEB 2020. PLEASE SEE THE
                          ENCLOSED PRICING SCHEDULE AMENDMENT FOR
                           DETAILS. ALSO PRICING FOR CERTAIN TREAS-
                          URY MANAGEMENT SERVICES/ANALYZED DEPOS-
                            ITORY PRODUCTS CHANGE EFFECTIVE 1-1-20.
                          CHANGES WILL BE REFLECTED BEGINNING WITH
                             JANUARY ANALYSIS STATEMENT YOU WILL
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


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                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
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FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
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ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
          Case 19-69496-pmb Regions
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                            Conyers  53
                                     Bank
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               SIGMA LOGISTICS INC
               DEBTOR IN POSSESSION
               TAX                                                                                                                               2
               55 CHAMISA RD STE B
               COVINGTON GA 30016-1109                                                                       ACCOUNT #                       0761
                                                                                                                                               060
                                                                                                                         Cycle                  26
                                                                                                                    Enclosures                    0
                                                                                                                         Page                1 of 3

                                              ADVANTAGE BUSINESS CHECKING
                                              December 9, 2019 through December 31, 2019



                                                                    SUMMARY
Beginning Balance                                    $0.00                  Minimum Daily Balance                                         $100
Deposits & Credits                               $4,570.19      +           Average Monthly Statement Balance                           $1,775
Withdrawals                                      $4,339.04      -
Fees                                                 $0.00      -
Automatic Transfers                                  $0.00      +
Checks                                               $0.00      -
Ending Balance                                    $231.15



                                                         DEPOSITS & CREDITS
       12/09      Deposit - Thank You                                                                                                   100.00
       12/12      EB From Checking #           0990 Ref# 000000 8644735                                                               4,470.19

                                                                                               Total Deposits & Credits              $4,570.19


                                                              WITHDRAWALS
       12/20      IRS        USATAXPYMT Sigma Logistic 270975491218282                                                                    8.24
       12/20      IRS        USATAXPYMT Sigma Logistic 270975432584363                                                                3,930.80
       12/23      EB to Checking #    0990 Ref# 000000 8644738                                                                          400.00

                                                                                                       Total Withdrawals             $4,339.04


                                                    DAILY BALANCE SUMMARY
       Date                    Balance                Date                             Balance                   Date                  Balance
       12/09                     100.00               12/20                             631.15                   12/23                  231.15
       12/12                   4,570.19




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                             Bank
                                   Filed 01/21/20 Entered 01/21/20 17:27:23      Desc Main
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                                                                                                 2
SIGMA LOGISTICS INC
DEBTOR IN POSSESSION
TAX
                                                               ACCOUNT #                     0761
55 CHAMISA RD STE B
COVINGTON GA 30016-1109                                                                        060
                                                                         Cycle                  26
                                                                    Enclosures                    0
                                                                         Page                2 of 3


                             PRICING CHANGES TO THIS ACCOUNT WILL
                             TAKE EFFECT IN FEB 2020. PLEASE SEE THE
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


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ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
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                                     Bank
                                           Filed 01/21/20 Entered 01/21/20 17:27:23                                              Desc Main
                                         Document
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               SIGMA LOGISTICS INC
               DEBTOR IN POSSESSION
               PAYROLL                                                                                                                            2
               55 CHAMISA RD STE B
               COVINGTON GA 30016-1109                                                                       ACCOUNT #                       0982
                                                                                                                                                060
                                                                                                                         Cycle                   26
                                                                                                                    Enclosures                     0
                                                                                                                         Page                 1 of 3

                                              ADVANTAGE BUSINESS CHECKING
                                              December 9, 2019 through December 31, 2019



                                                                    SUMMARY
Beginning Balance                                    $0.00                  Minimum Daily Balance                                           $3
Deposits & Credits                              $63,091.31      +           Average Monthly Statement Balance                              $45
Withdrawals                                     $63,087.90      -
Fees                                                 $0.00      -
Automatic Transfers                                  $0.00      +
Checks                                               $0.00      -
Ending Balance                                       $3.41



                                                         DEPOSITS & CREDITS
       12/09      Deposit - Thank You                                                                                                    100.00
       12/12      EB From Checking #           0990 Ref# 000000 8644736                                                                1,280.63
       12/12      EB From Checking #           0990 Ref# 000000 8644734                                                               18,315.37
       12/19      EB From Checking #           0990 Ref# 000000 8643101                                                                  250.00
       12/19      EB From Checking #           0990 Ref# 000000 8643100                                                               23,200.00
       12/26      EB From Checking #           0990 Ref# 000000 8644739                                                               19,945.31

                                                                                               Total Deposits & Credits              $63,091.31


                                                              WITHDRAWALS
       12/10      Tarrence T Houst Payroll Tarrence T Hou                                                                                  0.20
       12/12      Tarrence T Houst Payroll Tarrence T Hou                                                                             19,596.00
       12/19      Tarrence T Houst Payroll Tarrence T Hou                                                                             23,546.39
       12/26      Sigma Logistics Payroll Sigma Logistic                                                                              19,945.31

                                                                                                       Total Withdrawals             $63,087.90


                                                    DAILY BALANCE SUMMARY
       Date                     Balance               Date                             Balance                   Date                  Balance
       12/09                     100.00               12/12                              99.80                   12/26                    3.41
       12/10                      99.80               12/19                               3.41




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                                                  Thank You For Banking With Regions!
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                      DocMain
                    Conyers  53
                             Bank
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                    1848 Highway 138           Page 33 of 37
                           Conyers, GA 30094




                                                                                                 2
SIGMA LOGISTICS INC
DEBTOR IN POSSESSION
PAYROLL
                                                               ACCOUNT #                     0982
55 CHAMISA RD STE B
COVINGTON GA 30016-1109                                                                        060
                                                                         Cycle                  26
                                                                    Enclosures                    0
                                                                         Page                2 of 3


                             PRICING CHANGES TO THIS ACCOUNT WILL
                             TAKE EFFECT IN FEB 2020. PLEASE SEE THE
                          ENCLOSED PRICING SCHEDULE AMENDMENT FOR
                           DETAILS. ALSO PRICING FOR CERTAIN TREAS-
                          URY MANAGEMENT SERVICES/ANALYZED DEPOS-
                            ITORY PRODUCTS CHANGE EFFECTIVE 1-1-20.
                          CHANGES WILL BE REFLECTED BEGINNING WITH
                             JANUARY ANALYSIS STATEMENT YOU WILL
                           RECEIVE IN FEBRUARY. TO VIEW ALL CHANGES
                               VISIT REGIONS.COM/SPECIALMESSAGE.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error. If we decide there was no error,
we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of the documents that we used in our
investigation.

FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
                Case 19-69496-pmb                         Doc 53
                                                          Filed 01/21/20 Entered 01/21/20 17:27:23                                                               Desc Main
                                                                                                                                                                               DATE (MM/DD/YYYY)
                                                         Document     Page 35INSURANCE
                                                CERTIFICATE OF LIABILITY      of 37
                                                                                                                                                                                     1/9/2020
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
  If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
  this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
                                                                                                     CONTACT
PRODUCER
                                                                                                     NAME:      Michele Lane
Higginbotham Insurance Agency, Inc.                                                                  PHONE                                                       FAX
500 W. 13TH                                                                                          (A/C, No, Ext): 817-349-2240                                (A/C, No):   817-347-6981
                                                                                                     E-MAIL
Fort Worth TX 76102                                                                                  ADDRESS: mlane@higginbotham.net
                                                                                                                         INSURER(S) AFFORDING COVERAGE                                         NAIC #

                                                                                                     INSURER A :   Evanston Insurance Company                                                 35378
INSURED                                                                                     SIGMA7                 American Southern Insurance Co.                                          10235
                                                                                                     INSURER B :
Sigma Logistics, Inc.                                                                                              LM Insurance Co.                                                         33600
55 Chamisa Rd, Suite B                                                                               INSURER C :

Covington GA 30016-1109                                                                              INSURER D :

                                                                                                     INSURER E :

                                                                                                     INSURER F :
COVERAGES                                      CERTIFICATE NUMBER: 428492364                                                              REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                                  ADDL SUBR                                              POLICY EFF   POLICY EXP
 LTR               TYPE OF INSURANCE                  INSD WVD                POLICY NUMBER                 (MM/DD/YYYY) (MM/DD/YYYY)                                 LIMITS
 A     X   COMMERCIAL GENERAL LIABILITY                            3AA377462                                  1/9/2020         1/9/2021    EACH OCCURRENCE                    $ 1,000,000
                                                                                                                                           DAMAGE TO RENTED
                CLAIMS-MADE       X   OCCUR                                                                                                PREMISES (Ea occurrence)           $ 100,000
                                                                                                                                           MED EXP (Any one person)           $ 5,000
                                                                                                                                           PERSONAL & ADV INJURY              $ Excluded

       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                                  GENERAL AGGREGATE                  $ 2,000,000
       X POLICY       PRO-
                      JECT          LOC                                                                                                    PRODUCTS - COMP/OP AGG             $ Excluded

           OTHER:                                                                                                                                                             $

 B     AUTOMOBILE LIABILITY                                        ASI1101                                    12/12/19       12/12/20      COMBINED SINGLE LIMIT              $    1,000,000
                                                                   Non Trucking Liability Only                                             (Ea accident)
           ANY AUTO                                                (Bobtail)                                                               BODILY INJURY (Per person)         $
           OWNED
           AUTOS ONLY
                              X    SCHEDULED
                                   AUTOS
                                                                                                                                           BODILY INJURY (Per accident) $
           HIRED                   NON-OWNED                                                                                               PROPERTY DAMAGE                    $
           AUTOS ONLY              AUTOS ONLY                                                                                              (Per accident)
                                                                                                                                                                              $
           UMBRELLA LIAB              OCCUR                                                                                                EACH OCCURRENCE                    $
           EXCESS LIAB                CLAIMS-MADE                                                                                          AGGREGATE                          $

              DED          RETENTION $                                                                                                                                        $
  C    WORKERS COMPENSATION                                       10-15628-20010-535095                       12/27/19       12/27/20      X   PER                 OTH-
       AND EMPLOYERS' LIABILITY                                                                                                                STATUTE             ER
                                               Y/N
       ANYPROPRIETOR/PARTNER/EXECUTIVE          Y                                                                                          E.L. EACH ACCIDENT                 $   1,000,000
       OFFICER/MEMBER EXCLUDED?                       N/A                                                                                                                         1,000,000
       (Mandatory in NH)                                                                                                                   E.L. DISEASE - EA EMPLOYEE $           1,000,000
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                                     E.L. DISEASE - POLICY LIMIT        $
  B    Auto Physical Damage                                        ASI01000                                  12/12/19        12/12/20     Comp/Coll Deductible                    $1,000
                                                                   Scheduled Autos Only



DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)


 Workers Compensation Excluded Officers: David Houston and Tarrence Houston




CERTIFICATE HOLDER                                                                                   CANCELLATION

                                                                                                       SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                                       THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                                       ACCORDANCE WITH THE POLICY PROVISIONS.
                 US Department of Justice Trustee
                 Attn: Nancy J. Gorgula
                 75 Ted Turner Dr SW Room 362                                                        AUTHORIZED REPRESENTATIVE
                 Atlanta GA 30303


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                                                                                                  US1LOGI-02                                         Desc Main
                                                                                                                                                            BSCHWEIGER
                                                                   Document     Page 36 of 37                                                                     DATE (MM/DD/YYYY)
                                               CERTIFICATE OF LIABILITY INSURANCE                                                                                   12/19/2019
  THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
  CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
  BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
  REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
  IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
  If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
  this certificate does not confer rights to the certificate holder in lieu of such endorsement(s).
                                                                                            CONTACT
PRODUCER                                                                                    NAME:
Benton & Parker Company                                                                     PHONE
                                                                                                              (770) 536-8340
                                                                                                                                                    FAX
                                                                                            (A/C, No, Ext):                                         (A/C, No): (770)   534-8995
703 Medical Park Ln NE                                                                      E-MAIL
Gainesville, GA 30501                                                                       ADDRESS:
                                                                                                                  INSURER(S) AFFORDING COVERAGE                             NAIC #
                                                                                            INSURER A : Hudson       Insurance Company                                 25054
INSURED                                                                                     INSURER B :

                 US 1 Logistics LLC                                                         INSURER C :
                 101 East Town Place, Suite 120                                             INSURER D :
                 Saint Augustine, FL 32092
                                                                                            INSURER E :
                                                                                            INSURER F :

COVERAGES                                   CERTIFICATE NUMBER:                                                                  REVISION NUMBER:
  THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
  INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
  CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
  EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                              ADDL SUBR                                           POLICY EFF   POLICY EXP
 LTR              TYPE OF INSURANCE               INSD WVD              POLICY NUMBER                (MM/DD/YYYY) (MM/DD/YYYY)                           LIMITS
           COMMERCIAL GENERAL LIABILITY                                                                                           EACH OCCURRENCE               $
                 CLAIMS-MADE        OCCUR                                                                                         DAMAGE TO RENTED
                                                                                                                                  PREMISES (Ea occurrence)      $
                                                                                                                                  MED EXP (Any one person)      $
                                                                                                                                  PERSONAL & ADV INJURY         $
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                         GENERAL AGGREGATE             $
           POLICY     PRO-          LOC
                      JECT                                                                                                        PRODUCTS - COMP/OP AGG        $
           OTHER:                                                                                                                                               $
 A     AUTOMOBILE LIABILITY
                                                                                                                                  COMBINED SINGLE LIMIT
                                                                                                                                  (Ea accident)                 $
                                                                                                                                                                           1,000,000
       X   ANY AUTO                                           HMU200110-02                             8/1/2019       8/1/2020    BODILY INJURY (Per person)    $
           OWNED                  SCHEDULED
           AUTOS ONLY             AUTOS                                                                                           BODILY INJURY (Per accident) $
           HIRED                  NON-OWNED                                                                                       PROPERTY DAMAGE
           AUTOS ONLY             AUTOS ONLY                                                                                      (Per accident)               $
                                                                                                                                                                $
           UMBRELLA LIAB            OCCUR                                                                                         EACH OCCURRENCE               $
           EXCESS LIAB              CLAIMS-MADE                                                                                   AGGREGATE                     $
           DED        RETENTION $                                                                                                                               $
       WORKERS COMPENSATION                                                                                                            PER             OTH-
       AND EMPLOYERS' LIABILITY                                                                                                        STATUTE         ER
                                            Y/N
       ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                           E.L. EACH ACCIDENT            $
       OFFICER/MEMBER EXCLUDED?                   N/A
       (Mandatory in NH)                                                                                                          E.L. DISEASE - EA EMPLOYEE $
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                            E.L. DISEASE - POLICY LIMIT   $




DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
NAMED INSUREDS: Freedom 1 LLC; US 1 Logistics LLC; Longbow Transportation & Logistics LLC; White River Transportation LLC; Homeland 1 Logistics
LLC; Transport Leasing Systems LLC; Lionhart Transportation LLC; Centrans Truck Lines LLC; CL Services Transport LLC, America 1 Logistics LLC

Sigma Logistics Inc is an owner-operator for US1 Logistics via a written equipment lease agreement between Sigma Logistics Inc and US1 Logistics LLC.
Auto liability coverage is provided to the equipment under that agreement while under load or dispatch to US1 Logistics LLC.




CERTIFICATE HOLDER                                                                          CANCELLATION

                                                                                              SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                              THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                 US Dept of Justice Trustee                                                   ACCORDANCE WITH THE POLICY PROVISIONS.
                 Attn: Nancy j. Gorgula
                 75 Ted Turner Dr. SW
                 Room 362                                                                   AUTHORIZED REPRESENTATIVE
                 Atlanta, GA 30303


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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                      CHAPTER 11
 SIGMA LOGISTICS, INC.,
                                                      CASE NO. 19-69496-pmb
          Debtor.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the date indicated below a true and correct copy of foregoing
Monthly Operating Report was served via the Bankruptcy Court’s ECF program, which sends a
notice of and accompanying link to the pleading to the following parties who have appeared in this
case under the Bankruptcy Court’s ECF Program:

   •   K. Chris Collins chris.collins@huschblackwell.com, LegalSupportTeam-Lookout-
       CHT@huschblackwell.com;chris-collins-8133@ecf.pacerpro.com
   •   Whitney W. Groff wgroff@law.ga.gov
   •   Andres H. Sandoval andres.sandoval@usdoj.gov,
       charlie.cromwell@usdoj.gov;Larissa.selchenkova@usdoj.gov
   •   Shawna Staton shawna.p.staton@usdoj.gov

        This 21st day of January, 2020.

                                             JONES & WALDEN, LLC
                                             /s/ Thomas T. McClendon
                                             Thomas T. McClendon
                                             Georgia Bar No. 431452
                                              21 Eighth Street, NE
                                             Atlanta, Georgia 30309
                                             (404) 564-9300 Telephone
                                             (404) 564-9301 Facsimile
                                             tmcclendon@joneswalden.com
